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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 TRUSTEES OF THE B.A.C. LOCAL 4 NEW JERSEY 20 Civ. _______
 PENSION FUND, TRUSTEES OF THE NEW JERSEY
 B.A.C. ANNUITY FUND, TRUSTEES OF THE NEW
 JERSEY B.A.C. HEALTH FUND, TRUSTEES OF THE
 BRICKLAYERS      AND    TROWEL      TRADES
 INTERNATIONAL PENSION FUND,
                                                 COMPLAINT
                                     Plaintiffs,

                           -against-

 SUNDANCE CONSTRUCTION CO., INC. t/a B.D.
 MALCOLM CO.,

                                                 Defendant.

       Plaintiffs, by and through their attorneys, Virginia & Ambinder, LLP, as and for their

Complaint, respectfully allege as follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action brought pursuant to Sections 502(a)(3) and 515 of the

Employee Retirement Income Security Act (“ERISA”) of 1974, as amended, 29 U.S.C. §§

1132(a)(3), 1145, and Section 301 of the Labor-Management Relations Act (“LMRA”) of 1947,

29 U.S.C. § 185, by multiemployer welfare and pension funds through their respective Boards of

Trustees, to collect delinquent employer contributions to employee benefit plans and other

contributions that an employer was required to withhold from its employees’ pay and forward to

the union.
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                                        JURISDICTION

       2.      This Court has subject matter jurisdiction over this action pursuant to sections

502(e)(1) and (f) and 515 of ERISA, 29 U.S.C. §§ 1132(e)(1) and (f) and 1145; section 301 of the

LMRA, 29 U.S.C. § 185; and 28 U.S.C. § 1331.

                                            VENUE

       3.      Venue is proper in this district pursuant to section 502(e)(2) of ERISA, 29 U.S.C.

§ 1132(e)(2), and section 301 of the LMRA, 29 U.S.C. § 185.

                                        THE PARTIES

       4.      Plaintiffs Trustees of the B.A.C. Local 4 Pension Fund (the “Local 4 Pension

Fund”) are the employer and employee trustees of labor-management trust funds organized and

operated pursuant to trust agreements and various collective bargaining agreements in accordance

with section 302(c) of the LMRA, 29 U.S.C. § 186(c). The Local 4 Funds are employee benefit

plans within the meaning of section 3(3) of ERISA, 29 U.S.C. § 1002(3), and multiemployer plans

within the meaning of section 3(37) of ERISA, 29 U.S.C. § 1002(37). The Local 4 Pension Fund

maintains its principal place of business at 14 Plog Road, Suite 2, Fairfield, New Jersey 07004.

       5.      Plaintiffs Trustees of the New Jersey B.A.C. Annuity Fund (the “Annuity Fund”)

are the employer and employee trustees of multi-employer, labor-management trust funds,

organized and operated pursuant to various collective bargaining agreements in accordance with

Section 302(c)(5) of the Taft-Hartley Act, 29 U.S.C. § 186(c)(5). The Annuity Fund is an employee

benefit plan within the meaning of Sections 3(2), 3(3) and 502(d)(1) of ERISA, 29 U.S.C. §§

1002(37) and 1145. The Annuity Fund maintains its principal place of business at 14 Plog Road,

Suite 2, Fairfield, New Jersey 07004.




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       6.       Plaintiffs Trustees of the New Jersey B.A.C. Health Fund (the “Health Fund”) are

the employer and employee trustees of a labor-management trust fund organized and operated

pursuant to a trust agreement and various collective bargaining agreements in accordance with

section 302 of the LMRA, 29 U.S.C. § 186. The Health Fund is an employee benefit plan within

the meaning of section 3(3) of ERISA, 29 U.S.C. § 1002(3), and a multiemployer plan within the

meaning of section 3(37) of ERISA, 29 U.S.C. § 1002(37). The Health Fund maintains its principal

place of business at 14 Plog Road, Suite 2, Fairfield, New Jersey 07004.

       7.       Plaintiffs Trustees of the Bricklayers and Trowel Trades International Pension Fund

(the “IPF”) are the employer and employee trustees of a labor-management trust fund organized

and operated pursuant to a trust agreement and various collective bargaining agreements in

accordance with section 302 of the LMRA, 29 U.S.C. § 186. The IPF is an employee benefit plan

within the meaning of section 3(3) of ERISA, 29 U.S.C. § 1002(3), and a multiemployer plan

within the meaning of section 3(37) of ERISA, 29 U.S.C. § 1002(37). The IPF maintains its

principal place of business at 620 F Street, N.W., Washington, District of Columbia 20004.

       8.       Upon information and belief, at all times relevant hereto, Defendant Sundance

Construction Co., Inc. t/a B.D. Malcolm (“B.D. Malcolm”), was and is a corporation organized

and established under the laws of the State of New Jersey and conducting business in the State of

New Jersey as an employer within the meaning of Sections 3(5) and 515 of ERISA, 29 U.S.C. §§

1002(5) and 1145, and was and is an employer in an industry affecting commerce within the

meaning of Section 301 of the LMRA, 29 U.S.C. § 185. Upon information and belief, B.D.

Malcolm maintains its principal place of business at 325 Beaverbrook Road, Lincoln Park, New

Jersey 07035.




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                                        BACKGROUND

         9.    At all relevant times hereto, B.D. Malcolm and the Bricklayers and Allied

Craftworkers Administrative District Council of New Jersey (“Union”) were parties to a collective

bargaining agreement (the “CBA”) establishing the terms and conditions of employment for

employees of B.D. Malcolm working as bricklayers, cement masons, plasterers, pointer caulkers,

cleaners, fire proofers, stone masons, brick pavers and exterior marble masons (“Covered Work”)

within a specified geographical area.

         10.   The CBA provided that B.D. Malcolm must make specified contributions to the

Local 4 Pension Fund, the Annuity Fund, the Health Fund, the Apprentice Fund (collectively, the

“Local Funds”), and the IPF (together, the “Funds”) for each hour of Covered Work performed by

B.D. Malcolm’s employees.

         11.   The CBA further provided that B.D. Malcolm must make its books and records

available to the Funds or their representatives in order to verify the number of hours of Covered

Work performed by B.D. Malcolm’s employees. Additionally, the CBA required that should

delinquent contributions be uncovered by such an audit, B.D. Malcolm was liable for any audit

costs.

         12.   An audit of B.D. Malcolm’s books and records (the “Audit”) revealed that B.D.

Malcolm failed to make all required contributions to the Funds in connection with a substantial

portion of the Covered Work performed by B.D. Malcolm’s employees during the period January

1, 2018 through December 31, 2018 (the “Audit Period”).

         13.   In connection with Covered Work identified by the Audit, B.D. Malcolm is liable

to Plaintiffs for delinquent contributions in the amount of $85,803.16, plus interest, liquidated

damages, attorneys’ fees and costs.




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                                 FIRST CLAIM FOR RELIEF

       14.       Plaintiffs repeat the allegations set forth in paragraphs 1 through 13 above and

incorporate them herein by reference.

       15.       Section 515 of ERISA provides: “Every employer who is obligated to make

contributions to a multiemployer plan under the terms of the plan or under the terms of a

collectively bargained agreement shall, to the extent not inconsistent with law, make such

contributions in accordance with the terms and conditions of such plan or such agreement.” 29

U.S.C. § 1145.

       16.       Section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), provides that upon a finding

that an employer violated section 515 of ERISA, 29 U.S.C. § 1145, the plan is entitled to judgment

for the amount of delinquent contributions plus interest and liquidated damages at rates prescribed

by the documents and instruments governing the plan, and the reasonable attorneys’ fees and costs

incurred by the plan in prosecuting the action.

       17.       Under the documents and instruments governing the Local Funds, employers

whose contributions are delinquent are liable for interest at the rate of 10% per annum and

liquidated damages of 20% of the principal amount due. Similarly, under the documents and

instruments governing the IPF, employers whose contributions are delinquent are liable for interest

at the rate of 15% per annum and liquidated damages of 20% of the principal amount due.

       18.        At relevant times, B.D. Malcolm and the Union were parties to a CBA

establishing the terms and conditions of employment for employees of B.D. Malcolm working as

bricklayers, cement masons, plasterers, pointer caulkers, cleaners, fire proofers, stone masons,

brick pavers and exterior marble masons within specified geographical areas.

       19.        At relevant times, the CBA required B.D. Malcolm to make specified




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contributions to the Local Funds and the IPF for each hour of Covered Work.

       20.       The Audit revealed that B.D. Malcolm failed to make all required contributions

to the Funds, in connection with Covered Work performed by B.D. Malcolm’s employees during

the Audit Period.

       21.       B.D. Malcolm thereby contravened the CBA and section 515 of ERISA, which

provides that “[e]very employer who is obligated to make contributions to a multiemployer plan

under the terms of the plan or under the terms of a collectively bargained agreement shall, to the

extent not inconsistent with law, make such contributions in accordance with the terms and

conditions of such plan or such agreement.” 29 U.S.C. § 1145.

       22.     Therefore, in connection with Covered Work identified by the Audit, B.D. Malcolm

is liable to Plaintiffs for delinquent contributions in the amount of $85,803.16, plus interest through

the date of judgment, liquidated damages, and reasonable attorneys’ fees and costs.

       WHEREFORE, Plaintiffs respectfully request that this Court:

       (1)     Award the Funds judgment for $85,803.16, plus interest and liquidated damages;

       (2)     Award the Funds all reasonable attorneys’ fees, expenses, and costs; and

       (3)     Award Plaintiffs such further legal, equitable, or other relief as is just and proper.

Dated: New York, New York
       March 16, 2020

                                                      Respectfully submitted,

                                                      VIRGINIA & AMBINDER, LLP

                                               By:         /s/ Nicole Marimon
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